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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

ANTONIO STACKER,

Petitioner,

CASE NO: 2:16-cr-20115~SHL

UNITED STATES OF AMERICA

Respondent,

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MEMORANDUM IN SUPPORT OF PETITIONER'S TITLE 28 U.S.C. §2255

 

COMES NOW, Antonio Stacker, presenting this Memorandum in support of
his motion under Title 28 U.S.C. §2255. Hereinafter to be referred to as
(petitioner) acting pro-se, and would ask this Honorable Court to interpret
his motion in its most liberal light and grant him broad interpretation as

pursuant to Haines v. Kerner, 404 U.S. 516, 519 (1972).

JURISDICTION

This court holds all legal jurisdiction as it concerns the petitioner's
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motion under Title 28 U.S.C. §2255. It is the court that the trial was held

in and that sentenced the petitioner in this matter.

GROUND ONE

DEFEENSE COUNSEL WAS INEFFECTIVE ASSISTANCE OF COUNSEL:

 

Defense counsel was ineffective assistance of counsel in several as-
pects of this case. The attorney that represented the petitioner made a
prejudicial tactical error, after she was informed of the grand jury testim-
ony that Keona Gorman gave during the closed grand jury hearings. The pro-
secution as to the federal government, intentionally and prejudicially
withheld this information until just days before the trial was to begin.

The attorney, Ms. Jermann-Robinson was aware at that time that the evidence
that the government withheld intentionally, now proves that the entire case
hinges solely on that testimony. The fact that the information under the
Brady v. Maryland, 373 U.S. 83, 83 S.Ct. 1194, 10 L.Ed.2d 215 (1963) rule,
it is the obligation of the government to disclose all pertinent information
in a forthright and timely manner. This was abused from the very outset by
Ms. Stigger, the Assistant United States Attorney in charge of the case. At
this time, petitioner's attorney was aware of the possibility of this state-
ment by Ms. Gorman, but was unable to contact Ms. Gorman, because the gov-
ernment was standing at that time on the Jencks Act 18 U.S.C. §3500. In the
process of the government finally having no choice but to finally turn over
the statement by Ms. Gorman, the government had fully made the availability
of Ms. Gorman, beyond the scope of reach of the defense under the Jencks -

Act.
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Tne fact that the attorney for the petitioner was aware of the state-
ment being a "game changer' as to her defense or the lack thereof, she was
ineffective for not approaching the court at that time in motion as to the
intended tactical delay by the government in; 1) not releasing this state-

ment by Ms. Gorman that states "she was the ome who owned and possessed the

gun , "!

and 2) by not motioning the court as to the violation of the govern-
ment standing on the Jencks Act, knowing they were obligated to turn this
information over before trial no matter what.

The government stood on both the Jencks Act right, and they stood be-
hind Brady. Knowing they were in possession of evidence that was in fact a
definite "game changer'' for the petitioner.

The government hid behind the Jencks issue in order to prohibit the
petitioner from access to Ms. Gorman to ascertain whether or not her state-
ment was of the nature as to the actual facts that happened. She stated in
the grand jury hearings "I owned the gun, I was afraid I would get in trouble

because it was unregistered, so I lied.'' Under the Jencks Act the government

has every right to prohibit a defense from access to that person and or any

written statements. This was their intent and the government violated the

rules of "fair play" by knowing they had no other option but to release the

statement, it was Malicous intent on the government knowing the defense is
unable to contact or talk to a viable and relevant witness, that was the

case, by standing behind Jencks. See Stickler v. Greene, 527 U.S. 263, 281

 

119 S.Ct. 1936, 144 L.Ed.2d (1999). Under that case law, the three prong
requirement would be met since 1) the evidence was favorable to petitioner,

2) it was both impeaching and exculpatory, and 3) because of the suppression

the petitioner was prejudiced.
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This action by the government was "prosecutorial misconduct" on the
part of Ms. Stigger and her associates. The ploy to prohibit the defense
from access to the statement by Ms. Gorman was not what is termed a "tactic-
al strategy" it borders on insubordination andmalicious intent. See Hill v.
Mitchell, 2013 U.S. Dist LEXIS 45919, Case No:1:98-cv-452 (S.D.Ohio 2013);
Hill v. Mitchell, 2016 U.S. App.LEXIS 21458 (6th Cir.)(6th Cir.2016)(State
suppressed material under Brady claim won new trial as to that intentionally
suppressed evidence that was exculpatory evidence, in violation of the petit-
ioner's rights to due process, a fair trial, and his right to be free from
cruel and unusual punishment as guaranteed under the Sixth, Eighth, and the
Fourteenth Amendments.

Withholding this evidence did cause prejudice sufficient to excuse the
procedural default of petitioners rights as to Brady. See Banks v. Dretke,
540 U.S. 668, 691, 124 S.Ct. 1256, 157 L.Ed.2d 1166 (2004); also Cowen v.
Stovall, 645 F.3d 815, 818 (6th Cir.2011)(Failure to disclose Brady material
as to exculpatory and impeachment evidence.

The attorney in petitioner's case was ineffective assistance of counsel
by 1) not objecting to the court immediately under motion as to this clear
and intentional action under malicious intent as to citing Jencks in order to
prohibit her from gathering the testimony statement she supplied during the
grand jury hearing. 2) failure to motion the court as to the fact that the
government built its case upon a foundation of a known lie by the only wit-
ness in evidence other than the statement by the police officer at the scene.
3) Attorney was ineffective for advising her client that she would proceed

to trial under the "self Defense Theory." See Strickland v. Washington, 466

 

U.S. 668, 104 S.Ct. 2052, 80 L.Ed.2d 674 (1984); also Lafler v. Cooper, 132
S.Ct. 1376, 182 L.Ed.2d 398 (2012)(attorney's poor advise as to being able
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proceed to trial and winning under that defense proposed).

The petitioner's attorney failed in her counsel to simply motion the
court, and to remove herself at that time and advise the petitioner that he
would be able to prevail if he had new counsel and had his new counsel
made the government provide all Brady material that should have been timely
disclosed, and make the government prove their case on its own evidence and
merits. Attorney was ineffective assistance of counsel by this action.

Had this happened, the government could not have shown that the petit-
ioner was guilty by the statement of Ms. Gorman other than the petitioner
acted out of "self preservation" as any normal person would have in this
situation. The attorney could not ethiclly provide the proper defense and
should have used the strategy of filing a motion to remove herself from the
petitoner's case at that time. Had she done so, it would have put the bur-
den of proof entirely upon the government.

The intentional withholding of dire "exculpatory evidence" in this case
by standing behind Jencks to prohibit availability for debriefing would
have exposed the lie by the witness to the grand jury. This was prejudicial
and harmful error by the government for their actions, and prejudicial on
the attorney's part and ineffective assistance. See United States v. Blood,
435 F.3d 612, 627 (6th Cir.2006)(withholding of exculpatory evidence); also
United States v. Bencs, 28 F.3d 555, 560-61 (6th Cir.1994).

 

GROUND TWO
IMPROPER JURY INSTRUCTION, PROSECUTORIAL MISCONDUCT, JUDGE WAS BIASED:
The judge in this case showed extreme bias towards the defense in the

way the court ruled against the Brady and Jencks violations in the case.
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The judge admitted that the prosecution violated the Brady rule and
still ruled that this was not an issue that was prejudicial. It can only
be fair to say that the judge would have made a more regulatory review and
possibly ruled in the favor of the defense had the petitioner's attorney
made the attempt from the pre-trial stage of the process. The judge also
made the admission in open court that the government violated Brady and
showed his bias in his ruling against the question "did it prejudice the
petitioner?" See Caperton v. Massey Coal Inc., 556 U.S. 868, 881, 129 S.Ct.
2252, 173 L.Ed.2d 1208 (2009); Liteky v. United States, 510 U.S. 540, 555,
114 S.Ct. 1147, 127 L.Ed.2d 474 (1994)( Judge showed bias in ruling in favor
of government repeatedly in issues that were clear error).

The judge also forced the jury to a decision after giving an unclear
"jury instruction" that left the jury in a state of confusion. It became
known through social media by numerous jurors in this case, to the petition-

"possession" of

er that the jurors did not feel that the government proved
the firearm in this case. That the judge sent in word that right after he
did so, it only took the jurors six (6) minutes to come back with a convict-
ion. How is this so, if two of the jurors stated to the petitioner after

the trial that the government did not prove its case. They stated that the

instructions left them no other choice but to come to that conclusion after

word from the judge. (Improper jury instructions, confusing and unclear)

 

It seems as though the government in its belief that it is above the
rules of the law by withholding pertinent and crucial information concern-
ing the main witness's statement to a seated grand jury that she was the
only one ever in possession of the firearm. It was evident in the bias of
the judge that he allowed the government the right to protest under Jencks

that that is why they never released the witness for defense deposition
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until they knew they had to or risk mistrial or dismissal. Hill v. Mitchell,
2016 U.S. App. LEXIS 21458 (6th Cir.2016).

The judge ruled that the officer that testified in open court could
stand under the "issued utterances" rule. The court abused its discretion
as to allowing everything in favor of the government, and in all fairness

left the defense nothing. See United States v. Arnold, 486 F.3d 177, 184

 

(6th Cir.2007)(an abuse of discretion occurs when a ruling is based upon an
error of law or a clearly eroneous finding of fact, or when the government

fails to "release"

exculpatory evidence under a Brady rule.

The officer testified that almost 25 minutes after the incident, well
after the situation has been deemed "excitable" the officer states that she
hears the witness state "he had a gun."' The government knew as did the grand
jury that the witness stated that ''she had the gun" not him." The court
allowed under the "issued utterances rule." The court held a hearing on
Friday August 12th, as to motions and various pretrial issues. This was
the time when the judge states that the government did in fact violate the
Brady rule. It was then that the court should have heard from the attorney
as to the intended delay by the government as to both the government citing
Jencks and Brady. Instead, the judge gives the government everything as to
allowing the statement of the officer under the "issued utterances" even
though the rule alludes to the excitement of the moment, not 25 minutes
later after everything has long settled down. The judge allows that the
government violated the "exculpatory evidence" rule made by the government
and does nothing to make a "fair trial" in the petitioner's case. This show-

ed extreme judicial bias on the judges behalf, and everything favorable to

the government, all inharmful error to the petitioner in this matter.
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The court allowed all errors as harmless. It is apparent if the record
is reviewed, that the government had a professional standard of candor und-
er the Tennessee Rules of Professional Conduct, Tenn.Sup.Ct.R.Prof.Conduct
8, 3.3€a)-(c). Hearsay evidence should not be admissable , even under the
"excitable utterances'' clause because the petitoner's accuser admits she
was lying under oath about the petitioner ever having a gun. The witness
stated that it was her gun and it wasn't registered. Nothing more. In the
heat of the monent, she made a statement well after the rule of "excitable
utterances'' can be injected into this case. By the witness's own admission
to a federal grand jury, she states under oath that it was her gun and her

gun only. And only she possessed it.

CONCLUSION

It is apparent that the government could not,if made to, prove that
the petitioner ever had possession of a firearm. It could have released the
statement of the witness Ms. Gorman at the earlier convienance of the trial,
not two days before trial, and if the government did so, it knew it had no
case. The petitioners attorney should have recused herself and by motion
asked the court in the hearing the Friday before trial, and allowed the
government what it deserved, to be left in hopes of filing a case against
their own witness for suborning perjury, and they should have been sanction-

' (Prosecutorial misconduct)

ed by the court for "unfair trial tactics.'
Petitioner's attorney failed him in advise to proceed under a "self
defense claim" and she was ineffective assistance of counsel for advising

him to go to trial. See Strickland v. Washington, 466 U.S. 668 (1984) and

Lafler v. Cooper, 132 S.Ct. 1376 (2012).
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The judge in this case was bias towards the government and in fact act-
ed as an "advocate of the government" in his actions of decision in the

court before, during and after trial. (Unethical judicial sanctions)

 

The government acted in total disregard for the Jencks and Brady rules,
and practiced "unfair trial tactics" and got away with them by action of
a government favored district judge. His attorney failed him in all aspects
of the case by not removing herself and making the government prove its
case in entirety solely on the evidence available to it by "fair trial
rules."

Therefore, this court should grant this petitioners motion as to his
§2255 under ineffective assistance of counsel and unfair government tactics
in violation of both Jencks and Brady and the judge's unfair rulings as to

the government in its violation of those stated rules.

RELIEF REQUESTED

The petitioner asks this Honorable Court to grant his petition and
allow him his motion under §2255 and any other relief that this court deems

appropriate. Petitioner asks the court to determine that he was treated in
an unfair and biased fashion, and the prosecutor acted inappropriately and
was allowed to by the judge in charge of petitioner's trial. He asks this
Honorable court to correct the wrongs enacted upon him and rule in his

favor in this matter.

Respectfully submiited,

-. Antonio Stacker
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CERTIFICATE OF SERVICE

 

I, Antonio Stacker, do hereby verify and certify that a true and corr-
ect copy of the foregoing was deposited within the legal mailbox using

First Class Postage to the following concerned parties, listed as follows

pursuant to the mailbox rule in Houston v. Lack,-487 U.S. 266 (1988);

United States Attorney's Office
Ms. Stigger

Suite 800 Federal Building

167 North Main Street

Memphis, TN. 38103

United States District Court
Clerk of the Court

242 Federal Building

167 North Main Street
Memphis, TN. 38103

On this {th day of KV [ay , 2019.

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‘Antonio Stacker
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